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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLORADO



 WARNER BROS. RECORDS INC., et al.,

          Plaintiffs,

 v.                                                       Case No. 19-cv-00874-MSK-MEH

 CHARTER COMMUNICATIONS, INC.,

          Defendant




        PLAINTIFFS’ ANSWER, AFFIRMATIVE DEFENSES AND COUNTERCLAIMS TO
                       DEFENDANT’S COUNTERCLAIMS I AND II


                                           PARTIAL ANSWER

             Plaintiffs Warner Records Inc., Atlantic Recording Corporation, Bad Boy Records LLC,

      Elektra Entertainment Group Inc., Fueled By Ramen LLC, Lava Records LLC, Maverick

      Recording Company, Nonesuch Records Inc., The All Blacks U.S.A., Inc., Warner Music Inc.,

      Warner Records/SIRE Ventures LLC, WEA International Inc., Warner Chappell Music, Inc.,

      Warner-Tamerlane Publishing Corp., W Chappell Music Corp. d/b/a WC Music Corp., W.C.M.

      Music Corp., Unichappell Music Inc., Rightsong Music Inc., Cotillion Music, Inc., Intersong

      U.S.A., Inc., and Chappell & Co. Inc. (collectively, the “Warner Plaintiffs”); and Plaintiffs Sony

      Music Entertainment, Arista Music, Arista Records LLC, LaFace Records LLC, Provident Label

      Group, LLC, Sony Music Entertainment US Latin, The Century Family, Inc., Volcano

      Entertainment III, LLC, and Zomba Recordings LLC (collectively, the “Sony Music Plaintiffs”);

      and Plaintiffs Sony/ATV Music Publishing LLC, EMI Al Gallico Music Corp., EMI Algee
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   Music Corp., EMI April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI

   Consortium Music Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc.,

   individually and d/b/a EMI Longitude Music, EMI Entertainment World Inc. d/b/a EMI Foray

   Music, EMI Jemaxal Music Inc., EMI Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills

   Music, Inc., EMI Unart Catalog Inc., EMI U Catalog Inc., Famous Music LLC, Jobete Music Co.

   Inc., Stone Agate Music, Screen Gems-EMI Music Inc., and Stone Diamond Music Corp.

   (collectively, the “Sony/ATV and EMI Plaintiffs”); and UMG Recordings, Inc., Capitol Records,

   LLC, Universal Music Corp., Universal Music – MGB NA LLC, Universal Music Publishing

   Inc., Universal Music Publishing AB, Universal Music Publishing Limited, Universal Music

   Publishing MGB Limited, Universal Music – Z Tunes LLC, Universal/Island Music Limited,

   Universal/MCA Music Limited, Universal/MCA Music Publishing Pty. Limited, Music

   Corporation of America, Inc., Musik Edition Discoton GmbH, PolyGram Publishing, Inc., and

   Songs of Universal, Inc. (collectively, the “Universal Plaintiffs,” and with the Warner Plaintiffs,

   Sony Music Plaintiffs, and Sony/ATV and EMI Plaintiffs, the “Plaintiffs”), respectfully submit

   the following Answer and Affirmative Defenses to Counterclaims I and II asserted by Defendant

   Charter Communications, Inc. (“Charter” or “Defendant”):

                                      ANSWER TO COUNTERCLAIMS

   I.       Introduction1

                      1.      Charter is an Internet service provider (“ISP”) that provides its customers

        access to the Internet. As part of its ISP services, Charter does not store its subscribers’

        content on its servers. Charter does not host websites that index infringing files. Charter



   1
    For the Court’s convenience, Plaintiffs have reproduced Defendant’s headings from its First Amended
   Counterclaims for purposes of Plaintiffs’ Answers thereto. Plaintiffs do not thereby concede, affirm, or otherwise
   adopt any of those headings.


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         does not create or distribute peer-to-peer file-sharing software or other file-sharing software.

         Nevertheless, Plaintiffs seek to impose secondary liability on Charter for alleged copyright

         infringement by its subscribers, in an effort to create a substantial new set of liabilities and

         burdens for ISPs.

                   Answer: Plaintiffs admit that Charter is an Internet service provider and that

   Plaintiffs have asserted claims against Charter for secondary liability for copyright infringement

   by its subscribers. Plaintiffs lack knowledge or information sufficient to admit or deny the

   remaining allegations in Paragraph 1 of Charter’s First Amended Counterclaims (hereinafter

   “Counterclaims”), and on that basis deny those allegations.

                    2.       This Court has subject matter jurisdiction over Charter’s counterclaims

         pursuant to 28 U.S.C. §§ 1331, 1367, and 1338(a).

                   Answer: Plaintiffs admit that this Court has subject matter jurisdiction over

   Charter’s declaratory judgment counterclaims. Plaintiffs have moved to dismiss the remaining

   claim. Pursuant to the Federal Rules of Civil Procedure, they are not yet required to respond to

   this allegation as to those claims and reserve their rights accordingly.

   II.     Factual Allegations

               A. Charter’s Business

                    3.       Charter is one of the largest communications companies in the country,

         offering a variety of services, including cable, telephone, and Internet access services.

                   Answer: Plaintiffs admit the allegations contained in Paragraph 3 of Charter’s

   Counterclaims.




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                   4.    Charter provides Internet service to both residential subscribers and

       businesses. Its high-speed Internet service provides some 29 million U.S. customers with

       Internet connections across 41 states.

                  Answer: Plaintiffs admit that Charter provides Internet service to residential

   subscribers and businesses. Plaintiffs lack knowledge or information sufficient to admit or deny

   the remaining allegations in Paragraph 4 of Charter’s Counterclaims, and on that basis deny

   those allegations.

                   5.    As an ISP, Charter provides its customers with a gateway to the Internet,

       which has become virtually indispensable to functioning in the modern world.

                  Answer: Plaintiffs admit that Charter provides Internet service to its customers,

   among other services. Plaintiffs lack knowledge or information sufficient to admit or deny the

   remaining allegations in Paragraph 5 of Charter’s Counterclaims, and on that basis deny those

   allegations.

                   6.    The Internet provides access to a host of services, some of them critical.

       Individuals rely on Internet access to obtain services in the areas of healthcare, employment,

       education, banking, commerce, social interaction, news and entertainment, and many others.

                  Answer: Plaintiffs admit that individuals use the Internet for a variety of services.

   Plaintiffs lack knowledge or information sufficient to admit or deny the remaining allegations in

   Paragraph 6 of Charter’s Counterclaims, and on that basis deny those allegations.

                   7.    As the Supreme Court recently emphasized in the case of Packingham v.

       North Carolina, for many people the Internet provides “the principal sources for knowing

       current events, checking ads for employment, speaking and listening in the modern public




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       square, and otherwise exploring the vast realms of human thought and knowledge.” 137 S.

       Ct. 1730, 1737 (2017).

                  Answer: Plaintiffs admit that the quoted text appears as cited in the Supreme

   Court opinion in Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017). The remaining

   allegations contained in Paragraph 7 state legal conclusions or opinions to which Plaintiffs are

   not required to respond.

                   8.    The critical importance of the Internet has been highlighted in the current

       COVID-19 global pandemic. With much of the country currently under some form of

       shelter in place directive or order, hundreds of thousands of people across the country are

       working or attending classes from home and relying on high speed internet access to make

       that possible. To ease the strain in this challenging time, Charter is offering free Spectrum

       broadband internet and Wi-Fi access for 60 days to households with K-12 and/or college

       students who do not already have a Spectrum broadband subscription. Charter is also

       opening its Wi-Fi hotspots across its footprint for public use.

                  Answer: Plaintiffs admit that many areas of the United States are taking varying

   measures to minimize the spread of the virus commonly referred to as COVID-19. Plaintiffs

   further admit that some people in the United States are working or attending classes from home,

   and may use Internet services to do so. Plaintiffs lack knowledge or information sufficient to

   admit or deny the remaining allegations in Paragraph 8 of Charter’s Counterclaims, and on that

   basis deny those allegations.

                   9.    A subscriber losing Internet access can have devastating consequences.

                  Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

   allegations in Paragraph 9 of Charter’s Counterclaims, and on that basis deny those allegations.




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                   10.     As an ISP, Charter provides connections and enables connected computers

       to access the Internet.

                  Answer: Plaintiffs admit that Charter is an ISP and that Internet service is

   required to access the Internet. Plaintiffs lack knowledge or information sufficient to admit or

   deny the remaining allegations in Paragraph 10 of Charter’s Counterclaims, and on that basis

   deny those allegations.

                   11.     Charter provides Internet access service to its residential subscribers for a

       flat monthly fee.

                  Answer: Plaintiffs admit that Charter provides Internet service, among other

   services, to its residential subscribers. Plaintiffs lack knowledge or information sufficient to

   admit or deny the remaining allegations in Paragraph 11 of Charter’s Counterclaims, and on that

   basis deny those allegations.

                   12.     Charter cannot remove third-party material from the Internet unless that

       material is stored on Charter’s own servers. Charter cannot control what its customers store

       on their own or others’ computers.

                  Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

   allegations in Paragraph 12 of Charter’s Counterclaims, and on that basis deny those allegations.

                   13.     Charter has no ability to remove or take down infringing content from its

       customers’ computers. Charter cannot restrict, or even detect, the specific content that its

       customers access or share.

                  Answer: Plaintiffs deny that Charter cannot know about the content that its

   customers are uploading or downloading. Otherwise, Plaintiffs lack knowledge or information




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   sufficient to admit or deny the allegations in Paragraph 13 of Charter’s Counterclaims, and on

   that basis deny those allegations.

                   14.    Charter cannot supervise the online activities of its customers. Nor can

       Charter control its customers’ conduct online. While Charter could disable its customers’

       ability to access its ISP system, or terminate customers’ accounts, that does not give Charter

       control over its customers’ conduct online. For example, a Charter subscriber could access

       the Internet through other accounts or public networks.

                  Answer: Plaintiffs deny that Charter cannot supervise and/or control the online

   activity of its customers, including their infringing activities. Plaintiffs admit that Charter could

   disable its customers’ ability to access its ISP system or terminate its customers’ accounts.

   Plaintiffs lack knowledge or information sufficient to admit or deny the remaining allegations in

   Paragraph 14 of Charter’s Counterclaims, and on that basis deny those allegations.

                   15.    Charter also cannot determine whether one of its subscribers is using the

       network, as opposed to someone else using the subscriber’s account, with or without the

       subscriber’s permission to do so.

                  Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

   allegations in Paragraph 15 of Charter’s Counterclaims, and on that basis deny that allegation.

   Plaintiffs also aver that, pursuant to Charter’s Acceptable Use Policies and Terms of Service, a

   Charter subscriber is responsible for online activity that occurs through that account’s network

   connection, and that Charter knows who its subscribers are.

                   16.    Charter does not control the Internet.

                  Answer: Plaintiffs are unable to admit or deny this allegation because it is

   incomprehensibly vague and ambiguous. To the extent an answer is required, Plaintiffs lack




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   knowledge or information sufficient to admit or deny the allegation in Paragraph 16 of Charter’s

   Counterclaims, and on that basis deny that allegation.

                   17.    The privacy of its customers is of paramount concern to Charter. Internet

       users frequently transmit private and sensitive information, and trust their ISP to safeguard

       their privacy and security.

                  Answer: Plaintiffs admit that some Internet users may transmit private and

   sensitive information using Internet service. Plaintiffs lack knowledge or information sufficient

   to admit or deny the remaining allegations in Paragraph 17 of Charter’s Counterclaims, and on

   that basis deny those allegations.

                   18.    Charter does not spy on its customers or monitor their Internet traffic.

       Even if it could do so—and it cannot—it would not. Engaging in surveillance in such a

       fashion would violate Charter’s policies, ethics, and corporate culture.

                  Answer: Plaintiffs deny that Charter does not monitor its customers’ Internet

   traffic or that it cannot monitor its’ customers online traffic. Plaintiffs lack knowledge or

   information sufficient to admit or deny the remaining allegations in Paragraph 18 of Charter’s

   Counterclaims, and on that basis deny those allegations.

                   19.    Operating an ISP service—and safeguarding customers and other Internet

       users—entails responding to a number of potential abuses such as security threats, invasion

       of privacy, identity theft, denial of service attacks, botnets or other malware (such as

       viruses, spyware, and worms), spam, fraud, phishing scams, copyright infringement, and a

       host of others.

                  Answer: Plaintiffs admit that Charter receives complaints about Internet abuses,

   including, among other things, copyright infringement, but avers that Charter does not




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   adequately respond to copyright infringement complaints in order to safeguard Plaintiffs’ rights

   and interests. Plaintiffs lack knowledge or information sufficient to admit or deny the remaining

   allegations in Paragraph 19 of Charter’s Counterclaims, and on that basis deny those allegations.

                   20.   Charter’s Subscriber Security Services Team manages issues like these

       that threaten Charter’s network or customers, as well as other abuses of Charter’s system.

       This team is tasked with protecting Charter’s customer-facing networks and services by

       assessing and responding to security threats and attacks, and coordinating threat-mitigation

       activities with the appropriate organizations and external agencies to ensure a safe and

       secure communications infrastructure.

                  Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

   allegations in Paragraph 20 of Charter’s Counterclaims, and on that basis deny those allegations.

                   21.   Among other things, the Subscriber Security Services Team assists law

       enforcement and cooperates with other ISPs to combat security and privacy threats,

       addresses internal security issues, assists customers, and processes copyright infringement

       notices that Charter receives from copyright owners and their agents.

                  Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

   allegations in Paragraph 21 of Charter’s Counterclaims, and on that basis deny those allegations.

              B. Charter’s Receipt of Copyright Infringement Notices

                   22.   When Charter receives a copyright infringement notice alleging copyright

       infringement from a third party, it reviews the notice to ensure that it complies with

       Charter’s policies. Among other things, Charter requires the sender of a copyright

       infringement notice to identify the copyrighted work claimed to have been infringed and to




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        identify the material that is claimed to be infringing. Copyright infringement notices must

        also comply with Charter’s other policies, including Charter’s privacy policy.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    allegations in Paragraph 22 of Charter’s Counterclaims, and on that basis deny those allegations.

                     23.   Charter reserves the right to terminate subscribers and account holders

        who repeatedly infringe copyrights, and Charter’s policy is to terminate repeat infringers

        when Charter deems it appropriate to do so. Charter informs its subscribers and account

        holders of this policy.

                   Answer: Plaintiffs admit that Charter has the right and ability to terminate

    subscribers and account holders who repeatedly infringe others’ copyrights, but aver that Charter

    has admitted in this lawsuit that it has a policy against doing so. Plaintiffs lack knowledge or

    information sufficient to admit or deny the remaining allegations in Paragraph 23 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                     24.   Charter cannot verify infringement notices that it receives. In particular,

        Charter cannot verify whether the information in a notice is accurate.

                   Answer: Plaintiffs deny the allegations in Paragraph 24 of Charter’s

    Counterclaims.

                     25.   Charter cannot itself detect infringement, and cannot determine whether

        infringing content is crossing its network. Charter cannot control or examine material that is

        on its subscribers’ computers. Even if it could, doing so would violate Charter’s policies and

        violate its users’ privacy.

                   Answer: Plaintiffs deny that Charter does not have the ability to determine

    whether infringing content is crossing its network. Plaintiffs lack knowledge or information




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    sufficient to admit or deny the remaining allegations in Paragraph 25 of Charter’s Counterclaims,

    and on that basis deny those allegations.

                     26.   Copyright infringement notices that Charter receives for its ISP service

        always refer to acts of alleged infringement that occurred in the past. Charter cannot

        examine the content a customer allegedly made available in the past, detect what the

        customer did with that content, or know whether a subscriber was authorized to possess,

        reproduce, or distribute that content.

                   Answer: Plaintiffs admit that copyright owners send copyright infringement

    notices with respect to acts of infringements that have already occurred and may be ongoing,

    which provides Charter with information to prevent future acts of infringement by those same

    subscribers. Plaintiffs deny the remaining allegations in Paragraph 26 of Charter’s

    Counterclaims.

                     27.   Charter cannot confirm whether the sender of a notice actually owns the

        copyright for an allegedly infringed work, nor whether the sender is authorized to send

        notices on behalf of the true owner. Charter cannot determine the true owner of the

        copyright for an allegedly infringed work.

                   Answer: Plaintiffs deny the allegations in Paragraph 27 of Charter’s

    Counterclaims.

                     28.   Charter cannot control alleged infringement on the Internet. Charter

        cannot supervise or control what its customers store on their computers, and cannot look at,

        locate, or remove any content that its customers may be uploading, downloading, or

        accessing through its ISP service.




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                   Answer: Plaintiffs deny that Charter cannot control infringement occurring on the

    Internet through the Charter network. Plaintiffs lack knowledge or information sufficient to

    admit or deny the allegations in Paragraph 28 of Charter’s Counterclaims, and on that basis deny

    those allegations.

                    29.    With respect to business customers, terminating an account would sever

        access to multiple potentially innocent end-users. This is particularly the case with business

        customers that may be regional or local ISPs, through which hundreds, thousands, or even

        tens or hundreds of thousands of potentially innocent end-users’ internet access could be

        severed due to the alleged acts of a single end-user.

                   Answer: Plaintiffs deny that terminating an account would necessarily sever

    access to multiple potentially innocent end-users. Plaintiffs lack knowledge or information

    sufficient to admit or deny the allegations in Paragraph 29 of Charter’s Counterclaims, and on

    that basis deny those allegations.

               C. Charter’s Abuse Tracking System

                    30.    In this case, Plaintiffs seek relief for claims of infringement that accrued

        from March 24, 2013 through May 17, 2016 (the “Claim Period”).

                   Answer: Plaintiffs admit the allegations contained in Paragraph 30 of Charter’s

    Counterclaims as to Plaintiffs’ First Amended Complaint. Plaintiffs also admit that through their

    counterclaims to Charter’s declaratory judgment counterclaims, Plaintiffs also seek relief for

    claims of infringement that accrued from May 18, 2016 to present.

                    31.    During the Claim Period, Charter received different types of notifications

        concerning its ISP system. This included security notices, notices about system issues,

        copyright infringement notices, and others.




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                   Answer: Plaintiffs admit that during the Claim Period, Plaintiffs sent copyright

    infringement notices to Charter. Plaintiffs lack knowledge or information sufficient to admit or

    deny the remaining allegations in Paragraph 31 of Charter’s Counterclaims, and on that basis

    deny those allegations.

                       32.   Prior to and throughout the Claim Period, Charter utilized a system called

        “CATS”—Charter Abuse Tracking System—to partially automate the handling of abuse

        notifications that Charter receives. Among other things, Charter’s Subscriber Security

        Services Team used CATS as a tool for processing and addressing copyright infringement

        notices. This allowed Charter to process, respond to, and to address such notices more

        efficiently.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    allegations in Paragraph 32 of Charter’s Counterclaims, and on that basis deny those allegations.

                       33.   Automation is important, because manual processing of incoming abuse

        complaints is infeasible for all but the smallest ISP networks in light of the automated

        techniques used by spammers that generate a high volume of abuse complaints. Automation

        also decreases the risk that complaints from copyright owners could get lost in the flood of

        other abuse complaints.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    allegations in Paragraph 33 of Charter’s Counterclaims, and on that basis deny those allegations.

                       34.   CATS converted copyright infringement notices that meet Charter’s basic

        requirements into “tickets.” CATS also stored a copy of the copyright notices received (if

        any) per subscriber.




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                   Answer: Plaintiffs deny that Charter stored copies of copyright notices, and aver

    that Charter has admitted in this lawsuit to having systematically destroyed such documents.

    Plaintiffs lack knowledge or information sufficient to admit or deny the remaining allegations in

    Paragraph 34 of Charter’s Counterclaims, and on that basis deny those allegations.

                    35.    Accepting and processing notices is both time-consuming and costly,

        requiring multiple systems and numerous personnel to work in coordination. Charter incurs

        costs in connection with undertaking these actions, as well.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    allegations in Paragraph 35 of Charter’s Counterclaims, and on that basis deny those allegations,

    except Plaintiffs aver that, pursuant to its legal obligations, an ISP must dedicate resources to

    take appropriate action upon receiving copyright infringement notices.

                    36.    During the Claim Period, Charter processed notices received from

        Plaintiffs, in accordance with its policies and CATS and forwarded those notices to accused

        subscribers reminding them that infringing copyright violates Charter’s Acceptable Use

        Policy and emphasizing that they should take immediate action to stop the exchange of any

        infringing material.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    remaining allegations in Paragraph 36 of Charter’s Counterclaims, and on that basis deny those

    allegations.

                    37.    In July 2011, all of the major record companies and movie studios, along

        with their industry representatives, the RIAA and the Motion Picture Association of

        America (“MPAA”), and five of the largest ISPs in the United States collectively entered




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        into the Copyright Alert System Memorandum of Understanding (“CAS MOU”) to establish

        a “Copyright Alert System” (the “CAS”).

                   Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the CAS MOU speaks for itself.

                   38.    Under the CAS, signatory content owners or their representatives, which

        included the RIAA and MPAA, could send notices of alleged copyright infringement (“ISP

        Notices”) to ISPs. The ISPs would accept and process the ISP Notices.

                   Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the CAS MOU speaks for itself. Plaintiffs lack knowledge or

    information sufficient to admit or deny the remaining allegations in Paragraph 37 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                   39.    If an ISP received an ISP Notice that could be associated with the account

        of a particular ISP subscriber, then the ISP would send a notification—called a Copyright

        Alert—to the subscriber.

                   Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the CAS MOU speaks for itself. Plaintiffs lack knowledge or

    information sufficient to admit or deny the remaining allegations in Paragraph 39 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                   40.    Under the CAS MOU, participating ISPs were required to accept and

        process only a limited volume of ISP Notices. The CAS MOU also provided that a

        participating ISP could temporarily cease processing ISP Notices if it received more than its

        business processes and systems could reasonably address.




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                   Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the CAS MOU speaks for itself. Plaintiffs lack knowledge or

    information sufficient to admit or deny the remaining allegations in Paragraph 40 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                   41.    After an ISP had forwarded six Copyright Alerts to a single subscriber, the

        ISP was not required to forward any subsequent Copyright Alerts, regardless of the fact that

        the subscriber might be the subject of multiple, subsequent infringement notices.

                   Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the MOU speaks for itself. Plaintiffs lack knowledge or

    information sufficient to admit or deny the remaining allegations in Paragraph 41 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                   42.    Further, an ISP was not required to forward more than one Copyright

        Alert to a single subscriber within a seven-day grace period, to give an affected subscriber

        time to review each Copyright Alert pertaining to such subscriber’s account and to take

        appropriate steps to avoid receipt of further Copyright Alerts.

                   Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the MOU speaks for itself. Plaintiffs lack knowledge or

    information sufficient to admit or deny the remaining allegations in Paragraph 42 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                   43.    The participating ISPs were required to track the number of notices their

        subscribers received so that the information could be provided to the content owners (or

        their representatives), so that the content owners could institute infringement actions directly

        against the subscribers—not the ISPs.




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                   Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the MOU speaks for itself. Plaintiffs lack knowledge or

    information sufficient to admit or deny the remaining allegations in Paragraph 43 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                   44.    The CAS did not require ISPs to terminate subscribers who were

        repeatedly accused of infringement.

                   Answer: Plaintiffs admit that certain content owners, trade groups and ISPs were

    parties to the CAS MOU and that the MOU speaks for itself. Plaintiffs deny that ISPs were not

    required to terminate subscribers who repeatedly infringed.

                   45.    At least some of Plaintiffs are, and during the Claim Period were, well

        aware of the provisions of the CAS MOU.

                   Answer: Plaintiffs admit that some of the Plaintiffs were parties to the CAS

    MOU.

                   46.    On information and belief, all of the Warner Plaintiffs are, or during the

        Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS

        MOU.

                   Answer: Plaintiffs admit that Warner Music Group was a party to the CAS MOU.

                   47.    On information and belief, all of the Sony Music Plaintiffs are, or during

        the Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the

        CAS MOU.

                   Answer: Plaintiffs admit that Sony Music Entertainment was a party to the CAS

    MOU.




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                     48.   On information and belief, all of the Sony/ATV and EMI Plaintiffs are, or

        during the Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to

        the CAS MOU.

                   Answer: Plaintiffs deny that the Sony/ATV and EMI Plaintiffs were parties to the

    CAS MOU but admit that they are affiliates of Sony Music Entertainment.

                     49.   On information and belief, all of the Universal Plaintiffs are, or during the

        Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS

        MOU.

                   Answer: Plaintiffs admit that UMG Recordings, Inc. was a party to the CAS

    MOU.

                     50.   The RIAA was a signatory to the CAS MOU.

                   Answer: Plaintiffs admit the allegations contained in Paragraph 50 of Charter’s

    Counterclaims.

                     51.   On information and belief, all of the Record Company Plaintiffs were

        members of the RIAA during the Relevant Time Period or were affiliates, subsidiaries, or

        partners of RIAA members.

                   Answer: Plaintiffs admit the allegations contained in Paragraph 51 of Charter’s

    Counterclaims.

                     52.   Charter was also aware of the CAS MOU during the Relevant Time

        Period; however, Charter was not a signatory to the CAS MOU.

                   Answer: Plaintiffs admit that Charter was not a signatory to the CAS MOU.

    Plaintiffs lack knowledge or information sufficient to admit or deny the remaining allegations in

    Paragraph 52 of Charter’s Counterclaims, and on that basis deny those allegations.




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                     53.   On information and belief, one goal of the CAS MOU was to establish

        industry standard practices for entertainment industry copyright owners to submit copyright

        infringement notices to ISPs, and for ISPs to process such notices and inform their

        subscribers of infringement allegations against them.

                  Answer: Plaintiffs deny the allegations contained in Paragraph 53 of Charter’s

    Counterclaims.

                     54.   Content owners participating in the CAS MOU (including some of

        Plaintiffs here) and participating ISPs (including SBC Internet Services, Verizon Online,

        Comcast Cable Communications Management, CSC Holdings, and Time Warner Cable)

        established the Center for Copyright Information (the “CCI”).

                  Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the CAS MOU speaks for itself.

                     55.   An express goal of the CCI was “facilitating the involvement of non-

        participating ISPs in … the Copyright Alert program.”

                  Answer: Plaintiffs admit that certain content owners, trade groups, and ISPs were

    parties to the CAS MOU and that the MOU speaks for itself.

                     56.   In May 2014, RIAA Chairman and CEO Cary Sherman described the CCI

        as “a model for success.” Mr. Sherman lauded “the Alert program and all its

        accomplishments.” He stated that the CAS was “moving the needle,” and acknowledged that

        as the CAS program progressed, “there were fewer and fewer Alerts sent at each level.”

                  Answer: Plaintiffs admit that the quoted text appears at various points in an

    article published on the RIAA website in May 2014. Plaintiffs lack knowledge or information




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    sufficient to admit or deny the remaining allegations in Paragraph 56 of Charter’s Counterclaims,

    and on that basis deny those allegations.

                    57.    Further, upon information and belief, early reports note that merely

        sending notices had a meaningful impact on reducing infringement, as evidenced by the fact

        that fewer subscribers continued to receive subsequent alerts. Further, the CCI believed that

        the program would be effective against the vast majority of subscribers engaged in on-line

        infringement and that “very few subscribers, after repeated alerts, will persist (or allow

        others to persist) in the content theft.”

                   Answer: Plaintiffs deny CAS had a meaningful impact on reducing infringement

    or that it was effective. Plaintiffs lack knowledge or information sufficient to admit or deny the

    remaining allegations in Paragraph 57 of Charter’s Counterclaims, and on that basis deny those

    allegations.

                    58.    Importantly, the CAS MOU required that the ISPs provide data to the

        content owners and/or their representatives, so that the participants could assess the

        effectiveness of the program.

                   Answer: Plaintiffs admit that certain content owners, trade groups and ISPs were

    parties to the CAS MOU and that the MOU speaks for itself.

               E. Plaintiffs Withdrawal of Works for Which They Sent Copyright
                  Infringement Notices to Charter

                    59.    Upon information and belief, the Record Company Plaintiffs claim to own

        or control the vast majority of music sold in the United States.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s Colorado Consumer Protection Act (“CCPA”) claim to which this allegation

    pertains. Pursuant to the Federal Rules of Civil Procedure, they are not yet required to respond



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    to this allegation and reserve their rights accordingly. To the extent the allegations in Paragraph

    59 relate to Charter’s declaratory judgment claims and an answer is therefore required, Plaintiffs

    deny the allegations contained in Paragraph 59 of Charter’s Counterclaims.

                    60.    On information and belief, the Record Company Plaintiffs, through their

        agent the RIAA, engaged the services of rights-enforcement company MarkMonitor to

        monitor and detect infringing activity and send notices alleging copyright infringement to

        Charter. MarkMonitor markets itself as an “antipiracy solution.”

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 60 relate to Charter’s declaratory

    judgment claims and an answer is therefore required, Plaintiffs admit that the RIAA and

    MarkMonitor entered into an agreement to monitor and detect infringing activity and send

    notices of copyright infringement to Charter. Plaintiffs deny the remaining allegations of

    Paragraph 60 of Charter’s Counterclaims.

                    61.    On March 22, 2019, Plaintiffs sued Charter for contributory infringement

        and vicarious liability, alleging that Charter’s subscribers had infringed at least 11,482

        sound recordings and music compositions (the “works in suit”). The works in suit are listed

        on Exhibits A and B to Plaintiffs’ Original Complaint.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 61 relate to Charter’s declaratory




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    judgment claims and an answer is therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves. Plaintiffs deny the remaining allegations of

    Paragraph 61 of Charter’s Counterclaims.

                    62.    In connection with these allegations, Plaintiffs claimed that they “own

        and/or control in whole or in part the copyrights and/or exclusive rights” in the works in

        suit.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 62 relate to Charter’s declaratory

    judgment claims and an answer is therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves. Plaintiffs deny the remaining allegations of

    Paragraph 62 of Charter’s Counterclaims.

                    63.    In connection with these allegations, Plaintiffs claimed that between

        March 24, 2013 and May 17, 2016, their “representatives … sent hundreds of thousands of

        statutory infringement notices to Charter, under penalty of perjury,” claiming that Charter’s

        subscribers infringed the works in suit. The Music Publisher Plaintiffs did not send any

        notices, however, as the notices were sent only on behalf of the Record Company Plaintiffs’

        representative, the RIAA.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 63 relate to Charter’s declaratory




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    judgment claims and an answer is therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves. Plaintiffs further admit that Plaintiffs’ notices to

    Charter were sent by the RIAA, identifying infringed sound recordings, and that those sounds

    recordings embody underlying musical compositions, many of which are owned by the Music

    Publisher Plaintiffs. Plaintiffs deny the remaining allegations contained in Paragraph 63 of

    Charter’s Counterclaims.

                    64.    On January 15, 2020, Plaintiffs amended the list of works in suit,

        removing over 450 works from this case (the “Dropped Works”).

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    65.    The Record Company Plaintiffs dropped 272 sound recordings and the

        Music Publisher Plaintiffs dropped 183 music compositions.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    66.    Upon information and belief, Plaintiffs dropped at least some of these

        works because, contrary to their allegations, they do not “own and/or control in whole or in

        part the copyrights and/or exclusive rights” to the works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules




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    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    67.    For many of the Dropped Works, the claimant listed on the U.S. Copyright

        Office registration certificate is an entity other than the formerly asserting Plaintiff. Based

        on review of other publicly available information, these claimant-entities appear

        independent from the formerly asserting Plaintiff. On information and belief, Plaintiffs sent

        infringement notices for these Dropped Works despite lacking the right to do so.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    68.    Indeed, Plaintiffs only dropped these works after they were ordered in this

        case to produce further documentation relating to their purported ownership or ability to

        assert the works in suit in this case.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    69.    Despite later dropping these works, the Record Company Plaintiffs, or

        their agent acting on their behalf, nevertheless sent notices to Charter in connection with the

        Dropped Works, each claiming to “have identified a user … reproducing or distributing an

        unauthorized copy of a copyrighted sound recording,” and stating that the recipient of the

        notice “may be liable for infringing activity occurring” on Charter’s network. The Record




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        Company Plaintiffs further claimed in their notices that the targeted user’s “Internet account

        was used to illegally copy and/or distribute copyrighted music over the Internet” and that the

        notice contained “the details of the illegal file-sharing, including the time, date, and a

        sampling of the music shared.” The Record Company Plaintiffs’ notices “assert that the

        information in the notice is accurate” and that the sender had “a good faith belief that this

        activity is not authorized by the copyright owner, its agent, or the law.” The notices further

        stated “[u]nder penalty of perjury” that “the RIAA is authorized to act on behalf of its

        member companies in manners involving the infringement of their sound recordings,

        including enforcing their copyrights and common law rights on the Internet.”

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    70.    While the Music Publisher Plaintiffs did not send any notices for the

        music compositions in suit to Charter, the Music Publisher Plaintiffs’ infringement claims in

        this case purportedly rely on notices sent by the Record Company Plaintiffs to Charter,

        including those for the Dropped Works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    71.    Upon information and belief, at least in connection with the Dropped

        Works, the Record Company Plaintiffs sent notices to Charter with inaccurate information,




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        including but not limited to the misrepresentation that the RIAA was authorized on behalf of

        Plaintiffs to send a notice relating to these allegedly infringed works, that the Record

        Company Plaintiff on whose behalf the notice was sent owned or controlled the work, and

        that the actions alleged to have been taken by Charter’s subscribers constituted infringement

        of the Record Company Plaintiffs’ rights.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    72.    Upon information and belief, the Record Company Plaintiffs did not own

        the Dropped Works when they sent notices for them.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    73.    Upon information and belief, the Record Company Plaintiffs did not have

        the right to send notices to Charter for the Dropped Works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.




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                    74.    Upon information and belief, Plaintiffs, as a matter of practice, do not

        confirm whether they “own and/or control in whole or in part the copyrights and/or

        exclusive rights” to works before notices are sent to ISPs, like Charter.

                    Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    75.    After Plaintiffs identified the works in suit, including the Dropped Works,

        Charter investigated Plaintiffs’ purported ownership or control of the Dropped Works, or

        whether the Record Company Plaintiffs otherwise had the right to send notices to Charter

        for them.

                    Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    76.    Many of the same record companies and music publishers that are

        Plaintiffs in this case pursued damages in Sony Music Entertainment et al. v. Cox

        Communications, Inc. et al., Case No. 1:18-cv-950 (LO/JFA) (E.D. Va.) (“Sony”) for

        certain of the Dropped Works. The jury in the Sony case returned a verdict for certain of the

        Dropped Works in an amount of nearly $100,000 per work.

                    Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules




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    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    77.    Yet for many other Dropped Works that were also originally asserted in

        Sony, Plaintiffs dropped those works in Sony before trial, further demonstrating their belief

        that they did not possess the right to send notices for these Dropped Works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    78.    In this case, Plaintiffs’ counsel could not confirm to the Court either that

        each of the Sony record companies and music publishers owned or controlled each of the

        works at issue in that case or was the correct legal entity to obtain an award of statutory for

        each of those works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    79.    Upon information and belief, Plaintiffs devote substantial resources to

        protecting and exploiting the copyrights they claim to own or control.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 79 relate to Charter’s declaratory




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    judgment claims and an answer is therefore required, Plaintiffs admit that they devote resources

    to protecting and exploiting their copyrights.

                    80.    Upon information and belief, at all times, Plaintiffs had or should have had

        knowledge of the status of their purported ownership or control of copyrights when they

        sent infringement notices regarding those copyrights, including those at issue in this case.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    81.    Plaintiffs sent millions of notices to ISPs during the Claim Period,

        including hundreds of thousands of notices to Charter.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 81 relate to Charter’s declaratory

    judgment claims and an answer is therefore required, Plaintiffs admit that they sent many notices

    to Charter and other ISPs during the Claim Period.

                    82.    Charter could not have discovered that Plaintiffs’ notices for the Dropped

        Works were inaccurate until January 15, 2020, after Plaintiffs dropped the works from this

        case and Charter analyzed Plaintiffs’ notice data.

               Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules




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    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

               F. The Unreliability of Plaintiffs’ Copyright Infringement Notices

                    83.    Notices of alleged copyright infringement, such as those Plaintiffs’ agents

        submitted to Charter, can be unreliable.

                   Answer: Plaintiffs deny the allegations contained in Paragraph 83 of Charter’s

    Counterclaims as to Plaintiffs’ notices. Plaintiffs lack knowledge or information sufficient to

    admit or deny the remaining allegations in Paragraph 83 of Charter’s Counterclaims, and on that

    basis deny those allegations.

                    84.    Academic studies have demonstrated that copyright infringement notices

        sent by third parties to online service providers can be unreliable and are prone to error.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    remaining allegations in Paragraph 84 of Charter’s Counterclaims, and on that basis deny those

    allegations.

                    85.    For example, a 2016 study examined a sample of 288,675 copyright

        infringement notices that were sent to online service providers between May 1, 2013 and

        October 31, 2013 (the “Study Period”). Jennifer Urban, et al., Notice and Takedown in

        Everyday Practice (2016) (“Urban Study”).

                   Answer: Plaintiffs admit that the cited Urban Study speaks for itself. Plaintiffs

    lack knowledge or information sufficient to admit or deny the remaining allegations in Paragraph

    85 of Charter’s Counterclaims, including whether the information or analysis in the Urban Study

    is accurate, and on that basis deny those allegations.




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                    86.     The Urban Study found that 4.2% of the infringement claims examined

        “were fundamentally flawed because they targeted content that clearly did not match the

        identified infringed work.” Id. at 88. In addition, 28.4% of notices that the Urban Study

        examined “had characteristics that raised clear questions about their validity,” including

        notices with “multiple potential issues.” Id.

                   Answer: Plaintiffs admit that the cited Urban Study speaks for itself. Plaintiffs

    lack knowledge or information sufficient to admit or deny the remaining allegations in Paragraph

    86 of Charter’s Counterclaims, including whether the information or analysis in the Urban Study

    is accurate, and on that basis deny those allegations.

                    87.     Because some notices in the sample set for the Urban Study contained

        multiple requests, these notices together represented over 100 million claims of

        infringement. Id.

                   Answer: Plaintiffs admit that the cited Urban Study speaks for itself. Plaintiffs

    lack knowledge or information sufficient to admit or deny the remaining allegations in Paragraph

    87 of Charter’s Counterclaims, including whether the information or analysis in the Urban Study

    is accurate, and on that basis deny those allegations.

                    88.     The RIAA sent notices that were included in the sample that the Urban

        Study analyzed.

                   Answer: Plaintiffs admit that the cited Urban Study speaks for itself. Plaintiffs

    lack knowledge or information sufficient to admit or deny the remaining allegations in Paragraph

    88 of Charter’s Counterclaims, including whether the information or analysis in the Urban Study

    is accurate, and on that basis deny those allegations.




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                    89.    MarkMonitor sent notices that were included in the sample that the Urban

        Study analyzed.

                   Answer: Plaintiffs admit that the cited Urban Study speaks for itself. Plaintiffs

    lack knowledge or information sufficient to admit or deny the remaining allegations in Paragraph

    89 of Charter’s Counterclaims, including whether the information or analysis in the Urban Study

    is accurate, and on that basis deny those allegations.

                    90.    The Urban Study also discussed specific instances in which notices sent

        by MarkMonitor were “clear mismatches” between the allegedly infringed work and the

        online content that was allegedly infringing. Id. at 92.

                   Answer: Plaintiffs admit that the cited Urban Study speaks for itself. Plaintiffs

    lack knowledge or information sufficient to admit or deny the remaining allegations in Paragraph

    90 of Charter’s Counterclaims, including whether the information or analysis in the Urban Study

    is accurate, and on that basis deny those allegations.

                    91.    The Urban Study also identified MarkMonitor as having sent tens of

        thousands of notices during the Study Period alleging infringement by file-sharing websites

        that had been “dead more than 18 months.” Id. at 89-90.

                   Answer: Plaintiffs admit that the cited Urban Study speaks for itself. Plaintiffs

    lack knowledge or information sufficient to admit or deny the remaining allegations in Paragraph

    91 of Charter’s Counterclaims, including whether the information or analysis in the Urban Study

    is accurate, and on that basis deny those allegations.

                    92.    Multiple news stories, including stories from the time period covered by

        Plaintiffs’ copyright infringement allegations, reported errors in notices sent by

        MarkMonitor to online service providers. For example, in February and March 2013,




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        multiple news stories highlighted instances in which MarkMonitor (under the name Dtecnet,

        a division of MarkMonitor) had sent erroneous copyright infringement notices to online

        service providers.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    remaining allegations in Paragraph 92 of Charter’s Counterclaims, and on that basis deny those

    allegations.

                    93.      A February 3, 2013 news story reported that Dtecnet, a division of

        MarkMonitor, had sent copyright infringement notices to Google, alleging that HBO’s own

        website contained infringing copies of HBO’s copyrighted content. See Ernesto Van der

        Sar, “HBO Wants Google to censor HBO.com,” TorrentFreak (February 3, 2013).

                   Answer: Plaintiffs admit that the cited article speaks for itself. Plaintiffs lack

    knowledge or information sufficient to admit or deny the remaining allegations in Paragraph 93

    of Charter’s Counterclaims, including whether the information or analysis in the news story is

    accurate, and on that basis deny those allegations.

                    94.      A March 1, 2013 news story reported that Dtecnet, a division of

        MarkMonitor, had misidentified a modified version of an online game as a television show,

        resulting in issuance of multiple inaccurate copyright infringement notices. See Masnick,

        Mike, “System Used By New Six Strikes CAS, Falsely Identifies Game Mods As NBC TV

        Shows,” TechDirt.com (Mar. 1, 2013).

                   Answer: Plaintiffs admit that the cited article speaks for itself. Plaintiffs lack

    knowledge or information sufficient to admit or deny the remaining allegations in Paragraph 94

    of Charter’s Counterclaims, including whether the information or analysis in the news story is

    accurate, and on that basis deny those allegations.




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                     95.   MarkMonitor was also the rights-enforcement organization that the CCI

        employed to detect instances of alleged infringement and send ISP Notices in connection

        with the CAS.

                   Answer: Plaintiffs deny the allegations contained in Paragraph 95 of Charter’s

    Counterclaims.

                     96.   In 2012, the CCI hired the firm Stroz Friedberg to perform an assessment

        of MarkMonitor’s technology in connection with the CAS.

                   Answer: Plaintiffs admit that in 2012, the CCI hired Stroz Friedberg, LLC to

    perform an assessment of the MarkMonitor system used in CAS, as contemplated by the CAS

    MOU.

                     97.   Stroz Friedberg had been retained by the RIAA as a lobbying firm from

        2004 through 2009.

                   Answer: Plaintiffs admit that RIAA has worked with Stroz Friedberg on certain

    lobbying activity.

                     98.   The Stroz Friedberg assessment contained six recommendations that

        “focused on improving the accuracy and reliability” of MarkMonitor’s processes.

                   Answer: Plaintiffs admit that Stroz Friedberg performed an assessment of the

    MarkMonitor system used in CAS, as contemplated by the CAS MOU, and concluded that the

    system it reviewed was accurate and reliable. Plaintiffs further admit that Stroz Friedberg’s

    findings speak for themselves.

                     99.   Among the six recommendations, Stroz Friedberg advised that

        MarkMonitor should augment the file identification trail. Specifically, Stroz Friedberg

        stated that the current manual verification process employed by MarkMonitor to review the




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        first instance of an infringed file is key to all subsequent steps in its process. Thus, if a file

        were to be improperly verified as infringing as a result of improper or incomplete review, it

        would generate a ripple effect through the entire AntiPiracy workflow, resulting in the

        collection and generation of notices for non-protected works. MarkMonitor advised that the

        potential exposure of risk at this juncture warranted supplemental mitigating measures.

                   Answer: Plaintiffs admit that Stroz Friedberg performed an assessment of the

    MarkMonitor system used in CAS, as contemplated by the CAS MOU, and concluded that the

    system it reviewed was accurate and reliable. Plaintiffs further admit that Stroz Friedberg’s

    findings speak for themselves.

                    100. Stroz Friedberg further explained that MarkMonitor generates notices for

        allegedly infringing files before it has verified those files as authentic. MarkMonitor stated

        that this process results in the collection of thousands of files that are later determined to be

        not infringing. MarkMonitor also stated that this process increases the chances that notices

        will be generated for non-infringing files.

                   Answer: Plaintiffs admit that Stroz Friedberg performed an assessment of the

    MarkMonitor system used in CAS, as contemplated by the CAS MOU, and concluded that the

    system it reviewed was accurate and reliable. Plaintiffs further admit that Stroz Friedberg’s

    findings speak for themselves.

                    101. After it was reported that Stroz Friedberg had been a lobbyist for the

        RIAA between 2004 and 2009, the CCI hired a second consulting firm, Harbor Labs, to

        conduct another review of MarkMonitor’s system.

                   Answer: Plaintiffs admit that it was reported that Stroz Friedberg had done some

    lobbying work for RIAA. Plaintiffs also admit CCI hired Harbor Labs to perform certain




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    services in connection with the analysis of the MarkMonitor system used in CAS, as

    contemplated by the CAS MOU.

                    102. Harbor Labs did not analyze MarkMonitor’s system directly but relied on

        test results conducted previously by Stroz Friedberg as part of its assessment in 2012.

                   Answer: Plaintiffs admit that Harbor Labs was provided with a copy of a 2012

    report by Stroz Friedberg. Plaintiffs deny the remaining allegations contained in Paragraph 102

    of Charter’s Counterclaims.

                    103. On December 5, 2012, Harbor Labs released its evaluation, in which it

        stated that MarkMonitor should undergo consistent and regular end-to-end testing, improve

        its verification approaches, and improve its controls over employee access to sensitive data.

                   Answer: Plaintiffs admit that Harbor Labs produced a report and that the report

    speaks for itself. Plaintiffs deny the remaining allegations contained in Paragraph 103 of

    Charter’s Counterclaims.

                    104. Specifically, Harbor Labs noted that MarkMonitor does not maintain any

        precision-relevant metrics on its live system. In other words, except for in the event a

        recipient of a notice complains that the notice is inaccurate, MarkMonitor does not maintain

        any data confirming its notices are accurate.

                   Answer: Plaintiffs admit that Harbor Labs produced a report and that the report

    speaks for itself. Plaintiffs deny the remaining allegations contained in Paragraph 104 of

    Charter’s Counterclaims.

                    105. On information and belief, Plaintiffs have not directly sued providers of

        P2P software, and/or companies or individuals who host, index, or link to infringing copies

        of the works in suit.




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                   Answer: Plaintiffs deny the allegations contained in Paragraph 105 of Charter’s

    Counterclaims.

                     106. On information and belief, Plaintiffs have not sued any individual direct

        infringers for the infringements they allege here.

                   Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    allegations in Paragraph 106 of Charter’s Counterclaims, because, among other reasons, Charter

    cannot identify all of the infringers identified in Plaintiffs’ infringement notices, and on that

    basis deny those allegations.

                     107. Charter brings Claims I and II for declaratory relief based upon explicit

        threats and actual litigation by Plaintiffs against Charter. An actual case or controversy

        exists within the meaning of 28 U.S.C. § 2201 as to whether Charter bears liability pursuant

        to the claims threatened by Plaintiffs in and out of court. A judicial determination is

        necessary and appropriate at this time so that the parties may ascertain their respective rights

        and obligations, if any.

               Answer: Plaintiffs admit that Charter brings Counterclaims against Plaintiffs for

    declaratory relief. The remaining allegations contained in Paragraph 107 state legal conclusions

    to which Plaintiffs are not required to respond.

               G. Plaintiffs’ Rampant and Deceptive Enforcement Conduct

                     108. Upon information and belief, the Record Company Plaintiffs, through

        their agent the RIAA, send notices of alleged copyright infringement for works they do not

        own or otherwise have the right to enforce.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules




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    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                      109. The Record Company Plaintiffs, along with the RIAA, have engaged in a

         decades-long campaign against consumers, threatening expensive, time-consuming

         litigation, and wielding the prospect of outsized and disproportionate statutory damages.

                     Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                      110. For example, between approximately 2004 and 2009, the record industry

         initiated over 30,000 lawsuits against individuals who were alleged to have downloaded

         music on peer-to-peer networks. Many of these individuals were forced to settle their suits,

         out of fear, as one court observed:

            There is a huge imbalance in these cases. The record companies are represented by large
            law firms with substantial resources. The law is also overwhelmingly on their side. They
            bring cases against individuals, individuals who don’t have lawyers and don’t have
            access to lawyers and who don’t understand their legal rights.

            Some category of individuals are defaulted because they read the summons, and they
            haven’t the foggiest idea what it means and don’t know where to go, so they’re defaulted,
            and they owe money anywhere from $3,000 to $10,000 as a result of these defaults.2

                     Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.



    2
     Capitol Records, Inc. et al. v. Noor Alaujan, et al., Case No. 03-11661-NG (D. Mass.), June 7, 2008 Mot. Hr’g Tr.
    at 8:14-25.


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                    111. The Record Company Plaintiffs, through the RIAA, exploit and leverage

        this imbalance of knowledge and resources in order to extract settlements from the

        consuming public. Upon information and belief, in order to do so, the Record Company

        Plaintiffs and/or the RIAA exploit sound recordings beyond their legal entitlement.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    112. The Record Company Plaintiffs’ practices also target ISPs, like Charter,

        whose subscribers are consumers of Plaintiffs’ goods.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly.

                    113. As an ISP, Charter receives Plaintiffs’ notices and, in turn, passes them

        onto its subscribers. In certain circumstances, the subscribers question the veracity of the

        notices. As a result, Charter bears the cost and burden of processing Plaintiffs’ notices and

        engaging with its subscribers to address these and other issues as a result of Plaintiffs’

        actions. To the extent the notices that Charter forwards to its subscribers contain inaccurate

        allegations of copyright infringement, Charter suffers harm to its reputation and loses the

        goodwill of its subscribers.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules




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    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly

             H. The Works in Suit Constitute a Small Percentage of Each Plaintiff’s
       Catalogue

                    114. Plaintiffs allege to collectively own or control the vast majority of music

        exploited in the United States, if not the world.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 114 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that they own or control

    copyrights in certain sound recordings and musical compositions. Plaintiffs deny the remaining

    allegations of Paragraph 114 of Charter’s Counterclaims as incomprehensibly vague and

    ambiguous.

                    115. Upon information and belief, Plaintiffs collectively own or control many

        millions of works. Yet in this case, they collectively only assert the alleged infringement of

        11,027 works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 115 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves, including the number of works and which works they

    allege Charter secondarily infringed. Plaintiffs also admit that they have not asserted claims



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    against Charter for all works that each Plaintiff owns or controls. Plaintiffs deny the remaining

    allegations of Paragraph 115 of Charter’s Counterclaims as incomprehensibly vague and

    ambiguous.

                    116. For example, of the 66 individual Plaintiffs, approximately 45 assert fewer

        than 100 works each. Many of these Plaintiffs assert only a handful of works and, in some

        cases, all from the same album(s) and/or recording artist(s).

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 116 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves, including the number of works and which works they

    allege Charter secondarily infringed. Plaintiffs deny the remaining allegations of Paragraph 116

    of Charter’s Counterclaims as incomprehensibly vague and ambiguous.

                    117. Even the Plaintiffs that assert the highest numbers of works in suit—i.e.,

        Sony Music Entertainment, Inc. (approx. 2,283), UMG Recordings, Inc. (approx. 1,903),

        and WB Music Corp. (approx. 822)—assert infringement of only a very small percentage of

        the total number of works that each of those Plaintiffs owns or controls.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 117 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that the allegations in




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    Plaintiffs’ complaint speak for themselves, including the number of works and which works they

    allege Charter secondarily infringed. Plaintiffs also admit that they have not asserted claims

    against Charter for all works that each Plaintiff owns or controls. Plaintiffs deny the remaining

    allegations of Paragraph 117 of Charter’s Counterclaims as incomprehensibly vague and

    ambiguous.

                    118. Based on the foregoing, it is clear that Plaintiffs are suing on only a small

        percentage of the total number of works that each owns or controls.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 118 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves, including the number of works and which works they

    allege Charter secondarily infringed. Plaintiffs also admit that they have not asserted claims

    against Charter for all works that each Plaintiff owns or controls. Plaintiffs deny the remaining

    allegations of Paragraph 118 of Charter’s Counterclaims as incomprehensibly vague and

    ambiguous.

                    119. Of this small percentage of works owned or controlled by each Plaintiff

        asserted in this case, upon information and belief, Plaintiffs have not elected to only sue for

        infringement of their most popular works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights




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    accordingly. To the extent the allegations in Paragraph 119 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves, including the number of works and which works they

    allege Charter secondarily infringed. Plaintiffs also admit that they have not asserted claims

    against Charter for all works that each Plaintiff owns or controls. Plaintiffs deny the remaining

    allegations of Paragraph 119 of Charter’s Counterclaims as incomprehensibly vague and

    ambiguous.

                    120. Of this small percentage of works owned or controlled by each Plaintiff

        asserted in this case, upon information and belief, Plaintiffs have not elected to only sue for

        infringement of their most profitable works.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 120 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves, including the number of works and which works they

    allege Charter secondarily infringed. Plaintiffs also admit that they have not asserted claims

    against Charter for all works that each Plaintiff owns or controls. Plaintiffs deny the remaining

    allegations of Paragraph 120 of Charter’s Counterclaims as incomprehensibly vague and

    ambiguous.

                    121. Of this small percentage of works owned or controlled by each Plaintiff

        asserted in this case, upon information and belief, Plaintiffs have not elected to only sue for




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        infringement of their works that were allegedly infringed most frequently during the Claim

        Period.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 121 relate to Charter’s declaratory

    judgment claims and an answer in therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves, including the number of works and which works they

    allege Charter secondarily infringed. Plaintiffs also admit that they have not asserted claims

    against Charter for all works that each Plaintiff owns or controls. Plaintiffs deny the remaining

    allegations of Paragraph 121 of Charter’s Counterclaims as incomprehensibly vague and

    ambiguous.

                    122. Plaintiffs instead elected to sue for infringement of those works for which

        they claim a Charter subscriber infringed after that subscriber was the subject of “multiple”

        prior infringement notices received by Charter, as they allege. See, e.g., First Amended

        Complaint, ¶¶ 5, 9, 101, 109, 115, 118.

                   Answer: Plaintiffs have moved to dismiss Charter’s claim DMCA Section 512(f)

    claim and Charter’s CCPA claim to which this allegation pertains. Pursuant to the Federal Rules

    of Civil Procedure, they are not yet required to respond to this allegation and reserve their rights

    accordingly. To the extent the allegations in Paragraph 122 relate to Charter’s declaratory

    judgment claims and an answer is therefore required, Plaintiffs admit that the allegations in

    Plaintiffs’ complaint speak for themselves.




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                                                 CLAIM ONE

        FOR A DECLARATORY JUDGMENT THAT CHARTER IS NOT LIABLE FOR
         CONTRIBUTORY INFRINGEMENT OF PLAINTIFFS’ WORKS AT ISSUE

                        123. Charter repeats the allegations in Paragraphs 1 through 122 and

         incorporates them here.

                    Answer: Plaintiffs incorporate the Answers to all preceding paragraphs as if fully

    set forth herein.

                        124. Charter provides high-speed Internet service that enables its subscribers to

         access the Internet and the myriad of services that Internet access enables and provides.

         Charter itself does not store its subscribers’ content on its servers in connection with its ISP

         service, does not host websites that index infringing files, does not and did not promote the

         ability to infringe on its network, and does not create or distribute peer-to-peer file-sharing

         software or other file-sharing software.

                    Answer: Paragraph 124 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs admit that Charter provides high-speed

    Internet service and that Internet service is required to access the Internet. Plaintiffs lack

    knowledge or information sufficient to admit or deny the remaining allegations contained in

    Paragraph 124 of Charter’s Counterclaims, and on that basis deny those allegations.

                        125. Charter’s ISP system is capable of substantial non-infringing uses.

                    Answer: Paragraph 125 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs admit that Charter is an ISP and the

    Internet can be used for many things. Plaintiffs otherwise lack knowledge or information

    sufficient to admit or deny the allegations contained in Paragraph 125 of Charter’s

    Counterclaims, and on that basis deny those allegations.



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                     126. Charter cannot itself detect infringement occurring on its system or the

        Internet.

                    Answer: Paragraph 126 contains legal conclusions to which no response is

    required. Plaintiffs lack knowledge or information sufficient to admit or deny the remaining

    allegations contained in Paragraph 126 of Charter’s Counterclaims, and on that basis deny those

    allegations.

                     127. Charter lacked the ability to verify Plaintiffs’ allegations of infringement.

                    Answer: Plaintiffs deny the allegations contained in Paragraph 127 of Charter’s

    Counterclaims.

                     128. The systems Plaintiffs used to detect infringement and send copyright

        infringement notices were unreliable and were known to be unreliable.

                    Answer: Plaintiffs deny the allegations contained in Paragraph 128 of Charter’s

    Counterclaims.

                     129. Charter lacked knowledge of any acts of copyright infringement by others

        particularly claimed by Plaintiffs in this action.

                    Answer: Paragraph 129 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 129 of Charter’s Counterclaims.

                     130. Charter lacked knowledge of any acts of copyright infringement by others

        generally claimed by Plaintiffs in this action.

                    Answer: Paragraph 130 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 130 of Charter’s Counterclaims.




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                     131. Charter has not materially contributed to any third party’s violation of

        Plaintiffs’ exclusive right to reproduce works in copies under 17 U.S.C. § 106(1).

                   Answer: Paragraph 131 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 131 of Charter’s Counterclaims.

                     132. Charter has not materially contributed to any third party’s violation of

        Plaintiffs’ exclusive right to prepare derivative works based upon Plaintiffs’ copyrighted

        works under 17 U.S.C. § 106(2).

                   Answer: Paragraph 132 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs lack knowledge or information

    sufficient to admit or deny the allegations contained in Paragraph 132 of Charter’s

    Counterclaims.

                     133. Charter has not materially contributed to any third party’s violation of

        Plaintiffs’ exclusive right to distribute copies of Plaintiffs’ copyrighted works to the public

        by sale or other transfer of ownership, or by rental, lease, or lending under 17 U.S.C. §

        106(3).

                   Answer: Paragraph 133 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 133 of Charter’s Counterclaims.

                     134. Charter has not materially contributed to any third party’s violation of

        Plaintiffs’ exclusive right to perform Plaintiffs’ copyrighted works publicly in copies under

        17 U.S.C. § 106(4).




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                   Answer: Paragraph 134 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 134 of Charter’s Counterclaims.

                     135. Charter has not materially contributed to any third party’s violation of

        Plaintiffs’ exclusive right to display Plaintiffs’ copyrighted works publicly in copies under

        17 U.S.C. § 106(5).

                   Answer: Paragraph 135 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs lack knowledge or information

    sufficient to admit or deny the allegations contained in Paragraph 135 of Charter’s

    Counterclaims.

                     136. Charter has not materially contributed to any third party’s violation of

        Plaintiffs’ exclusive right to perform Plaintiffs’ copyrighted sound recordings publicly by

        means of a digital audio transmission under 17 U.S.C. § 106(6).

                   Answer: Paragraph 136 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 136 of Charter’s Counterclaims.

                     137. Charter is entitled to a declaration that it is not liable to Plaintiffs, or any

        of them, on account of copyright infringement by others.

                   Answer: Paragraph 137 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 137 of Charter’s Counterclaims.




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                                                  CLAIM TWO

        FOR A DECLARATORY JUDGMENT THAT CHARTER IS NOT LIABLE FOR
           VICARIOUS INFRINGEMENT OF PLAINTIFFS’ WORKS AT ISSUE

                        138. Charter repeats the allegations in Paragraphs 1 through 137 and

         incorporates them here.

                    Answer: Plaintiffs incorporate the Answers to all preceding paragraphs as if fully

    set forth herein.

                        139. At all relevant times, Charter lacked the ability, including the practical

         ability, to supervise its subscribers.

                    Answer: Paragraph 139 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 139 of Charter’s Counterclaims.

                        140. At all relevant times, Charter lacked the ability, including the practical

         ability, to control its subscribers.

                    Answer: Paragraph 140 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 140 of Charter’s Counterclaims.

                        141. At all relevant times, the sole means of control Charter had over a

         subscriber’s use of the Internet was Charter’s ability to disable Internet service or terminate

         the subscriber’s account, thereby removing the customer’s ability to access the Internet for

         any purpose.

                    Answer: Paragraph 141 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs admit that Charter had the ability to

    disable a subscriber’s Internet service or terminate the subscriber’s account, thereby removing



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    the subscriber’s ability to infringe Plaintiffs’ copyrights through Charter’s network. Plaintiffs

    deny the remaining allegations contained in Paragraph 141 of Charter’s Counterclaims.

                    142. Charter did not, and does not, have a direct financial interest in

        infringement of Plaintiffs’ works, if any, that occurred on Charter’s system or network.

                   Answer: Paragraph 142 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 142 of Charter’s Counterclaims.

                    143. Charter did not, and does not, receive a direct financial benefit as a result

        of any copyright infringement that may occur over its network.

                   Answer: Paragraph 143 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 143 of Charter’s Counterclaims.

                    144. Copyright infringement occurring over Charter’s ISP system can slow

        traffic and adversely impact the transmission of data for all users of the system. These

        effects harm both Charter and its users.

                   Answer: Paragraph 144 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs admit that copyright infringement

    occurring over Charter’s ISP system harms Plaintiffs. Plaintiffs lack knowledge or information

    sufficient to admit or deny the allegations contained in Paragraph 144 of Charter’s

    Counterclaims, and on that basis deny those allegations.

                    145. At all relevant times, Charter provided Internet access service to its

        residential subscribers for a flat monthly fee. Charter’s fees are not based on the particular




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        uses customers make of its ISP system, including whether that customer is alleged to have

        infringed.

                     Answer: Plaintiffs lack knowledge or information sufficient to admit or deny the

    allegations contained in Paragraph 145 of Charter’s Counterclaims, and on that basis deny those

    allegations.

                     146. To the extent any of Plaintiffs’ works are available to infringe on P2P

        networks, including the works in suit, they are accessible generally on the Internet, not just

        by Charter’s subscribers.

                     Answer: Plaintiffs admit that certain P2P networks are accessible through the

    Internet. Plaintiffs lack knowledge or information sufficient to admit or deny the remaining

    allegations contained in Paragraph 146 of Charter’s Counterclaims, and on that basis deny those

    allegations.

                     147. Because of this fact, Plaintiffs allege that P2P infringement of their works

        (not limited to their works in suit) has greatly affected their respective businesses. But

        Plaintiffs do not (and could not) allege that all of this alleged infringement occurred using

        Charter’s service.

                     Answer: Plaintiffs admit that infringement of their copyrighted works harms their

    businesses and that infringement occurs through Charter’s network, among other avenues.

    Plaintiffs also admit that the allegations in Plaintiffs’ complaint speak for themselves. To the

    extent Paragraph 147 incorporates by reference the allegations in Paragraph 146, Plaintiffs

    incorporate their response to Paragraph 146. Plaintiffs deny the remaining allegations contained

    in Paragraph 147 of Charter’s Counterclaims.




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                    148. Further, Plaintiffs only assert that Charter is secondarily liable for the

        infringement of a small percentage of the total number of works that each Plaintiff owns or

        controls.

                    Answer: Plaintiffs admit that the allegations in Plaintiffs’ complaint speak for

    themselves, including the number of works and which works they allege Charter secondarily

    infringed. Plaintiffs also admit that they have not asserted claims against Charter for all works

    that each Plaintiff owns or controls. Plaintiffs deny the remaining allegations contained in

    Paragraph 148 of Charter’s Counterclaims.

                    149. Of this small percentage of works owned or controlled by each Plaintiff

        asserted in this case, upon information and belief, Plaintiffs have not elected to only sue for

        infringement of either their most popular works, their most profitable works, their works

        that were allegedly infringed the most by Charter’s subscribers during the Claim Period, or

        their works that were allegedly infringed the most across all networks. Instead, Plaintiffs

        have sued only on those works that were allegedly infringed by Charter’s subscribers after

        that subscriber was the subject of multiple prior infringement notices.

                    Answer: Plaintiffs admit that the allegations in Plaintiffs’ complaint speak for

    themselves, including the number of works and which works they allege Charter secondarily

    infringed. Plaintiffs also admit that they have not asserted claims against Charter for all works

    that each Plaintiff owns or controls. Plaintiffs deny the remaining allegations contained in

    Paragraph 149 of Charter’s Counterclaims.

                    150. Each Plaintiff cannot demonstrate that infringement of their respective

        works in suit served as a draw to subscribe to Charter’s ISP service, as required to establish

        vicarious liability. See, e.g., Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 674 (9th Cir.




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        2017); UMG Recordings, Inc. v. Grande Communs. Networks, LLC, 2018 U.S. Dist. LEXIS

        160492, at *9 (W.D. Tex. Sep. 20, 2018).

                   Answer: Paragraph 150 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 150 of Charter’s Counterclaims.

                    151. Charter is entitled to a declaration that it is not vicariously liable to

        Plaintiffs, or any of them, on account of copyright infringement by others for the works in

        suit.

                   Answer: Paragraph 151 contains legal conclusions to which no response is

    required. To the extent a response is required, Plaintiffs deny the allegations contained in

    Paragraph 151 of Charter’s Counterclaims.

                                             CLAIM THREE

           VIOLATION OF DMCA SECTION 512(f) FOR KNOWINGLY SENDING
          MATERIALLY INACCURATE NOTICES OF ALLEGED INFRINGEMENT

                    152. Charter repeats the allegations in Paragraphs 1 through 151 and

        incorporates them here.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly. To the extent a response is required, Plaintiffs incorporate the Answers to all

    preceding paragraphs as if fully set forth herein.

                    153. Upon information and belief, during the Claim Period, the Record

        Company Plaintiffs sent notices to Charter that contained inaccurate information, including

        but not limited to the misrepresentation that the RIAA was authorized on behalf of the

        Record Company Plaintiffs to send a notice relating to these allegedly infringed works, that



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        the Record Company Plaintiff on whose behalf the notice was sent owned or controlled the

        work, and that the actions alleged to have been taken by Charter’s subscribers constituted

        infringement of the Record Company Plaintiff’s rights.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    154. Upon information and belief, the Record Company Plaintiffs knew or

        should have known that the notices contained inaccurate information before they were sent.

        For example, the Record Company Plaintiffs knew, or should have known, that they did not

        own or control certain of the works identified in notices sent to Charter before they were

        sent.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    155. Upon information and belief, the Record Company Plaintiffs became

        aware of the fact that they did not own or control certain works or, alternatively, they did

        not have the permission to send infringement notices relating to certain works. Upon

        information and belief, Plaintiffs nevertheless sent, or authorized the sending of, notices to

        Charter, despite this knowledge.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.




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                    156. Upon information and belief, the fact that the Record Company Plaintiffs

        authorized the sending of numerous infringement notices for works that they did not own or

        control evinces a lack of a good-faith belief that the statements in their notices were

        accurate.

                    Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    157. During the Claim Period, Charter received notices from the Record

        Company Plaintiffs that it could not verify. Specifically, Charter could not verify whether

        any of the Plaintiffs owned or controlled the work identified in the notice. Charter also could

        not verify whether the sender of the notice was authorized to send it. Charter also could not

        verify whether the activity that was alleged in the notice constitute copyright infringement.

                     Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    158. During the Claim Period, Charter relied on the Record Company

    Plaintiffs’ statement that “the information in the notice is accurate” and that Plaintiffs “have a

    good faith belief that this activity is not authorized by the copyright owner, its agent, or the law.”

                    Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    159. In reliance on these representations, Charter accepted the notices and

        processed them accordingly. This includes, but is not limited to, accepting each notice into




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        its CATS, processing it, forwarding it to the referenced subscriber, and taking any further

        necessary action.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    160. The steps Charter took in response to receiving Plaintiffs’ inaccurate

        notices can result in the “removal or blocking” of the noticed material.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    161. Charter also incurs costs in implementing its CATS, including when

        processing Plaintiffs’ inaccurate notices.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    162. Charter is also injured when it processes inaccurate notices, causing it to

        forward false accusations to its subscribers, to the extent this creates tension with the

        impacted subscribers, negatively affects goodwill, and causes reputational harm to Charter.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    163. Charter was additionally injured through its investigation of the veracity of

        the notices for the Dropped Works, including whether Plaintiffs owned or controlled the




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        works when the Record Company Plaintiffs sent notices for them, including to the extent

        they relate to the Music Publisher Plaintiffs’ Dropped Works, or whether the Record

        Company Plaintiffs had the right to send notices to Charter for the Dropped Works.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    164. Charter was further injured through its defense of the allegations

        concerning fallacious notices, including determining whether Plaintiffs own or control the

        works when the Record Company Plaintiffs sent the notices or whether the Record

        Company Plaintiffs had the right to send notices to Charter for the Dropped Works,

        including to the extent they relate to the Music Publisher Plaintiffs’ Dropped Works.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    165. Charter could not have discovered that Plaintiffs’ notices for the Dropped

        Works were inaccurate until January 15, 2020, after Plaintiffs dropped the works from this

        case and Charter subsequently analyzed Plaintiffs’ notice data.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.




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                                              CLAIM FOUR

     VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT, COLO. REV.
                        STAT. 6-1-101 et seq. (“CCPA”)

                    166. Charter repeats the allegations in Paragraphs 1 through 165 and

        incorporates them here.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly. To the extent a response is required, Plaintiffs incorporate the Answers to all

    preceding paragraphs as if fully set forth herein.

                    167. The Record Company Plaintiffs engaged in an unfair, unconscionable,

        deceptive, deliberately misleading, false, or fraudulent act or practice in the course of their

        business, by knowingly or recklessly sending, and causing to be sent, copyright

        infringement notices concerning works for which they did not own the rights and for which

        they lacked authorization to send such notices.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    168. In the course of their business, the Record Company Plaintiffs caused their

        agent, the RIAA, to engage in unfair, unconscionable, deceptive, deliberately misleading,

        false, or fraudulent trade practices, as described above.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.




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                    169. In the course of Charter’s business, it has been injured by the Record

        Company Plaintiffs’ deceptive trade practice described above, including because Charter has

        incurred costs in implementing its CATS system and its customer service operations in

        receiving, processing, and forwarding the Record Company Plaintiffs’ inaccurate notices.

                    Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    170. Charter was also injured in the course of its business when it processed

        those inaccurate notices and thereby forwarded false accusations to its subscribers, including

        to the extent this created tension with the impacted subscribers, negatively affected

        Charter’s goodwill, and caused reputational harm to Charter.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    171. Charter was also injured in the course of its business by the cost and

        burden of investigating the veracity of those inaccurate notices for the Dropped Works,

        including: investigating whether Plaintiffs owned or controlled the works at the time(s) the

        Record Company Plaintiffs sent notices for them; investigating the extent to which those

        works related to the Music Publisher Plaintiffs’ Dropped Works; and investigating whether

        the Record Company Plaintiffs otherwise had the right or were authorized to send notices to

        Charter for the Dropped Works.




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                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    172. Charter was also injured in the course of its business by being required to

        defend itself against Plaintiffs’ allegations concerning the Dropped Works and the

        inaccurate notices, including: determining whether Plaintiffs owned or controlled the works

        at the relevant times, or whether the Record Company Plaintiffs had the right to send notices

        to Charter for the Dropped Works; and determining the extent to which the sound recordings

        at issue in the notices related to the Music Publisher Plaintiffs’ Dropped Works.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    173. On information and belief, the Record Company Plaintiffs own or control

        a significant share of the recorded music distributed, sold, and publicly performed in the

        United States. Thus, their conduct in sending inaccurate notices to Charter impacted actual

        and/or potential consumers of the Record Company Plaintiffs’ goods, services, and property.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    174. The Record Company Plaintiffs’ actions in sending and causing to be sent

        inaccurate notices to ISPs like Charter—which notices are in turn forwarded to members of

        the public—significantly impacts these members of the public, who are falsely led to believe

        that they have violated the law, and who are instructed to take actions based on inaccurate




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        notices and otherwise coerced to comply with baseless threats based on the inaccurate

        notices.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    175. The Record Company Plaintiffs’ conduct caused injury to Charter, and

        Charter has been and continues to be irreparably harmed by those actions and has no

        adequate remedy at law.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    176. Upon information and belief, the Record Company Plaintiffs engaged in

        the conduct described above in bad faith, and their conduct was fraudulent, reckless, willful,

        knowing, and/or intentional.

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                    177. The Record Company Plaintiffs’ conduct described above constitutes

        deceptive trade practices in violation of the Colorado Consumer Protection Act, including at

        least violations of Colo. Rev. Stat. § 6-1-105(1)(e) and (kkk), and § 6-1-105(3).

                   Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.




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                     178. Charter could not have discovered that Plaintiffs’ notices for the Dropped

        Works were inaccurate until January 15, 2020, after Plaintiffs dropped the works from this

        case and Charter subsequently analyzed Plaintiffs’ notice data.

                     Answer: Plaintiffs have moved to dismiss this claim. Pursuant to the Federal

    Rules of Civil Procedure, they are not yet required to respond to this allegation and reserve their

    rights accordingly.

                                      DEMAND FOR JURY TRIAL

           Plaintiffs request a trial by jury on all issues so triable.

                                         PRAYER FOR RELIEF

           Charter’s Prayer for Relief contains legal conclusions to which no response is required.

    To the extent a response is required, Plaintiffs deny any allegations associated with Charter’s

    Prayer for Relief and deny that Charter is entitled to any relief.



                                       AFFIRMATIVE DEFENSES

           Plaintiffs have moved to dismiss Charter’s Counterclaims Three and Four, pursuant to the

    Section 512(f) of the Digital Millennium Copyright Act and the Colorado Consumer Protection

    Act (“CCPA”). Pursuant to the Federal Rules of Civil Procedure, therefore, they are not yet

    required to respond to those claims, including by stating affirmative defenses to those claims.

    Plaintiffs expressly reserve all affirmative defenses to Charter’s § 512(f) and CCPA

    counterclaims.

           Plaintiffs identify the following affirmative defenses to Charter’s Counterclaims One and

    Two seeking declaratory judgments of non-infringement, and reserve the right to raise additional

    defenses as discovery proceeds. Plaintiffs do not assume the burden of proof on any issue,




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    however characterized, on which they do not bear that burden. Plaintiffs reserve all affirmative

    defenses not stated herein under Rule 8(c) of the Federal Rules of Civil Procedure and any other

    defense at law or in equity that may now exist or in the future be available based upon discovery

    and further investigation in this case.

          1. The statute of limitations bars Charter’s declaratory judgment counterclaims to the extent

    Charter seeks a declaration outside the applicable limitations period.

          2. Charter’s declaratory judgement counterclaims are barred to the extent they fail to present

    a justiciable controversy between the parties

          3. Charter’s declaratory judgement counterclaims are barred to the extent they are redundant

    of Plaintiffs’ underlying claims.

          4. The doctrines of waiver, estoppel and/or laches bar Charter’s declaratory judgment

    counterclaims.

                COUNTERCLAIMS TO DEFENDANT’S COUNTERCLAIMS I AND II

              Counterclaim Plaintiffs (“Plaintiffs”), by and through their counsel, hereby allege, on

    personal knowledge as to matters relating to themselves and on information and belief as to all

    other matters, counterclaims to Counts I and II of Defendant’s First Amended Counterclaims as

    set forth below.3

                                              INTRODUCTION

                  1.    Through these compulsory counterclaims, Plaintiffs allege secondary copyright

    infringement claims against Charter for claims that accrued from May 18, 2016 to present (the

    “Counterclaim Period”), after Plaintiffs formally notified Charter of their legal claims based on

    Charter’s persistent failure to address repeated infringing activity by its subscribers.



    3
        The Counterclaim Plaintiffs are listed in Exhibits I and II to these Counterclaims.

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               2.    In the underlying action, Plaintiffs allege that Charter is contributorily and

    vicariously liable for infringement of more than 11,000 of Plaintiffs’ copyrights. Specifically,

    Plaintiffs allege that Charter knowingly contributed to, and reaped substantial profits from,

    rampant copyright infringement committed by thousands of its subscribers, causing great harm to

    Plaintiffs, their recording artists and songwriters, and others whose livelihoods depend upon the

    lawful acquisition of music. The claims in the underlying action are limited to those that accrued

    between March 24, 2013 and May 17, 2016 (the “Original Claim Period”).

               3.    In response to the underlying action, Charter filed its First Amended Answer,

    Affirmative Defenses, and Counterclaims on April 29, 2020. ECF No. 165. Charter’s First

    Amended Counterclaims include claims for (i) a declaratory judgment that Charter is not liable

    to Plaintiffs for contributory copyright infringement; and (ii) a declaratory judgment that Charter

    is not liable to Plaintiffs for vicarious copyright infringement (the “Declaratory Judgment

    Counterclaims”).4

               4.    Plaintiffs are compelled to bring these claims that accrued during the

    Counterclaim Period in light of the position that Charter has taken in the underlying action that

    its “counterclaim for non-infringement is not limited to Plaintiffs’ [Original] Claim Period and,

    therefore, not a mirror-image of Plaintiffs’ claim.” ECF No. 158 (emphasis added). Thus,

    Charter’s Declaratory Judgment Counterclaims seek declarations of non-infringement for claims

    that accrued during the Original Claim Period (i.e., March 23, 2013 to May 17, 2016) and during

    Counterclaim Period (i.e., May 18, 2016 to present). Plaintiffs’ claims that accrued during the

    Counterclaim Period demonstrate that, not only did Charter facilitate infringement of Plaintiffs’



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     Charter’s Declaratory Judgment Counterclaims are ambiguous whether they seek declarations
    of non-infringement only as to the works in suit in the underlying action or more broadly as to
    any of Plaintiffs’ copyrighted works.

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    copyrighted works by its subscribers during the Original Claim Period, but Charter’s complete

    failure to comply with its legal obligations continues unabated to this day—and certainly

    continued after Plaintiffs indisputably provided Charter with notice of their claims.

               5.    In March and April 2016, Plaintiffs sent Charter formal notice of their claims in

    the underlying action. Through those notices, Plaintiffs informed Charter that they had sent

    Charter a massive number of infringement notices identifying specific Charter subscribers (by

    Internet Protocol or “IP” address), who were infringing specific files. Plaintiffs explained that,

    despite having receiving those infringement notices and Charter’s knowledge of repeat offenders,

    Charter nevertheless failed to address the widespread infringement occurring on its networks.

    Plaintiffs informed Charter that “[n]ot only must Charter act within the law going forward, but

    Charter must remedy the infringement to date.”

               6.    Plaintiffs believed—or at least hoped—that in response to this notice Charter

    would alter its conduct and take meaningful steps to address ongoing infringement by its

    subscribers. Unfortunately, that did not happen. Instead, Charter persisted in contributing to and

    profiting from its subscribers’ infringement of Plaintiffs’ copyrights through Charter’s network,

    even after receiving Plaintiffs’ March and April 2016 notices of claims, and remarkably, even

    after Plaintiffs initiated the underlying lawsuit in March 2019.

               7.    During the Counterclaim Period, the Universal Plaintiffs continued to monitor

    and detect infringement occurring through Charter’s network and sent more than 47,000

    additional notices to Charter identifying specific Charter subscribers infringing Plaintiffs’

    copyrighted works. Those notices advised Charter of its subscribers’ blatant and systematic use

    of Charter’s internet service to illegally download, copy, and distribute Plaintiffs’ copyrighted

    music through BitTorrent and other online file-sharing services. Infringement of Plaintiffs’




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    works in suit from the underlying action continued during the Counterclaim Period, and

    infringement of additional copyrighted works also occurred. Just as in the Original Claim

    Period, Charter did nothing to address the infringement, continuing to prioritize its own profits

    over its legal obligations during the Counterclaim Period.

               8.    Plaintiffs therefore now assert these counterclaims to seek relief for secondary

    liability claims against Charter that accrued during the Counterclaim Period. These

    counterclaims are compulsory, as they arise from the same transaction or occurrence as

    Charter’s Declaratory Judgement Counterclaims—namely, Charter’s receipt and handling of

    copyright infringement notices during the Counterclaim Period.

               9.    As in the underlying action, following the Original Claim Period, Charter

    continued to deliberately turn a blind eye to its subscribers’ infringement. And it maintained its

    policy of refusing to terminate or otherwise take meaningful action against the accounts of repeat

    infringers of which it was aware. Astonishingly, Charter maintained its policy and practice of

    inaction even after Plaintiffs notified Charter that they would assert legal claims for this very

    same conduct. Even the threat of litigation did not make Charter take its legal responsibilities to

    copyright owners more seriously. Instead, Charter doubled down on its do-nothing policy,

    sitting idly by as it received even more notices of ongoing, repeat infringements by its

    subscribers.

               10.   Charter also continued to derive a direct financial benefit from its customers’

    infringement. The unlimited ability to download and distribute Plaintiffs’ works through

    Charter’s service continued to serve as a draw for Charter to attract, retain, and charge higher

    fees to subscribers. Indeed, Charter continued to draw subscribers to its network—including

    subscribers who wished to download and distribute music illegally through online file-sharing




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    programs, like BitTorrent—by touting features of its service that are attractive to copyright

    infringers, including Charter’s “blazing-fast . . . speeds” that allow users to “[d]ownload music”

    and other “large files in seconds.” By touting these features and continuing its policy of refusing

    to terminate the accounts of specific recidivist infringers known to Charter, Charter obtained a

    direct financial benefit from its subscribers’ continuing infringing activity. That financial benefit

    included improper revenue that it would not have received had it appropriately shut down those

    accounts. Charter decided not to terminate infringers because it wanted to maintain the revenue

    that is generated from their accounts.

               11.   The infringing activity of Charter’s subscribers that is the subject of these

    counterclaims, and for which Charter is secondarily liable, occurred after Charter received

    multiple notices of each subscriber’s infringing activity, and after Plaintiffs formally notified

    Charter of their legal claims. Specifically, Plaintiffs seek relief for claims that accrued from May

    18, 2016 to present for infringement of works by Charter subscribers after those particular

    subscribers were identified to Charter in multiple infringement notices. Plaintiffs are entitled to

    relief for Charter’s callous disregard for their copyright interests, even in the face of legal action,

    and for Charter’s persistent failure—spanning nearly a decade—to take meaningful action to

    address widespread repeat infringement by its subscribers.

                                          NATURE OF ACTION

               12.   Plaintiffs repeat and re-allege each and every allegation contained in their

    Amended Complaint as if fully set forth herein.

               13.   This is a civil action in which Plaintiffs seek damages for copyright

    infringement under the Copyright Act, 17 U.S.C. § 101, et seq.




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               14.   This Court has subject matter jurisdiction over Plaintiffs’ counterclaims

    pursuant to 28 U.S.C. §§ 1331, 1367 and 1338(a).

                                              PLAINTIFFS

               15.   As in the underlying action, Plaintiffs are record companies that produce,

    manufacture, distribute, sell, and license commercial sound recordings, and music publishers that

    acquire, license, and otherwise exploit musical compositions, both in the United States and

    internationally. Plaintiffs own in whole or in part the copyrights and/or control exclusive rights

    in innumerable popular sound recordings and musical compositions, including the sound

    recordings listed on Exhibit I and musical compositions listed on Exhibit II, both of which are

    illustrative and non-exhaustive. All of the sound recordings and musical compositions listed on

    Exhibits I and II have been registered with the U.S. Copyright Office.

               16.   The Counterclaim Record Company Plaintiffs (listed in Exhibit I to these

    Counterclaims) are some of the largest record companies in the world, engaged in the business of

    producing, manufacturing, distributing, selling, licensing, and otherwise exploiting sound

    recordings in the United States through various media. They invest substantial money, time,

    effort, and talent in creating, advertising, promoting, selling, and licensing unique and valuable

    sound recordings embodying the performances of their exclusive recording artists.

               17.   The Counterclaim Music Publisher Plaintiffs (listed in Exhibit II to these

    Counterclaims) are leading music publishers engaged in the business of acquiring, owning,

    publishing, licensing, and otherwise exploiting copyrighted musical compositions. Each invests

    substantial money, time, effort, and talent to acquire, administer, publish, license, and otherwise

    exploit such copyrights, on its own behalf and on behalf of songwriters and others who have

    assigned exclusive copyright interests to the Counterclaim Music Publisher Plaintiffs.




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                                   CHARTER AND ITS ACTIVITIES

                18.   Charter is one of the largest internet service providers (“ISPs”) in the country.

    Charter markets and sells high-speed internet services to consumers nationwide. In 2015,

    Charter had more than 5 million subscribers and today has more than 29 million subscribers.

    Through the provision of those services, Charter has knowingly contributed to, and reaped

    substantial profits from, massive copyright infringement committed by thousands of its

    subscribers, causing great harm to Plaintiffs, their recording artists and songwriters, and others

    whose livelihoods depend upon the lawful acquisition of music. Charter’s contribution to and

    profit from its subscribers’ infringement is both willful and extensive, and renders Charter

    equally liable.

                19.   At all pertinent times, Charter’s customers, including those in Colorado, have

    paid substantial subscription fees for access to its high-speed internet network, with Charter

    offering a tiered pricing structure whereby a subscriber can have even higher downloading

    speeds for a higher monthly fee. Many of Charter’s customers are motivated to subscribe to

    Charter’s service because it allows them to download music and other copyrighted content—

    including unauthorized content—as efficiently as possible. Accordingly, in its consumer

    marketing material, including material directed to Colorado customers, Charter has touted

    features of its service that are attractive to infringers, including its “blazing-fast Internet speeds”

    that allow users to “download just about anything instantly,” including up to “8 songs in 3

    seconds.” Users, in turn, have utilized these speeds to pirate Plaintiffs’ works on a staggering

    scale.

                20.   Between 2016 and the present, for example, the Universal Plaintiffs sent Charter

    more than 47,000 copyright infringement notices, provided under penalty of perjury, detailing




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    specific instances of its subscribers using P2P protocols on its network to distribute and copy

    Plaintiffs’ copyrighted content unlawfully. Based on the sheer volume of copyright infringement

    that occurs over Charter’s internet network, there can be little doubt that downloading Plaintiffs’

    music illegally is something that many Charter users seek to do through Charter’s internet

    service.

                21.   At the same time, Charter has consistently and actively engaged in network

    management practices to suit its own purposes. This includes monitoring for, and taking action

    against, spam and other unwanted activity that might otherwise interfere with its provision of

    internet service to its subscribers. But Charter has gone out of its way not to take action against

    subscribers engaging in repeated copyright infringement, for its own financial benefit and at the

    expense of the underlying owners and controllers of copyright interests, including Plaintiffs,

    ultimately forcing Plaintiffs to bring this litigation.

                22.   At all pertinent times, Charter knew that its subscribers routinely used its

    networks for illegally downloading and uploading copyrighted works, especially music. Charter

    condoned the illegal activity because it was popular with subscribers and acted as a draw to

    attract and retain new and existing subscribers. Charter’s customers, in turn, purchased more

    bandwidth and continued using Charter’s services to infringe Plaintiffs’ copyrights. Charter

    undoubtedly recognized that if it terminated or otherwise prevented repeat infringer subscribers

    from using its service to infringe, or made it less attractive for such use, Charter would enroll

    fewer new subscribers, lose existing subscribers, and ultimately lose revenue. For those account

    holders and subscribers who wanted to download files illegally at faster speeds, Charter obliged

    them in exchange for higher fees. In other words, the greater the bandwidth its subscribers

    required for pirating content, the more money Charter made.




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                PLAINTIFFS’ ENFORCEMENT ACTIVITIES AND CHARTER’S
                               PERSISTENT INACTION

               23.   During the Counterclaim Period, the Universal Plaintiffs sent notices to Charter

    identifying specific instances of its subscribers’ infringement through BitTorrent and other P2P

    services. From 2016 through the present, Charter received more than 47,000 notices, provided

    under penalty of perjury, detailing specific instances of its subscribers using P2P protocols on its

    network to distribute and copy copyrighted content unlawfully both within, and beyond, the

    Charter network.

               24.   The infringement notices sent to Charter identify the unique IP address assigned

    to each user of Charter’s network, and the date and time the infringing activity was detected.

    Only Charter, as the provider of the technology and system used to infringe, had the information

    required to match the IP address to a particular subscriber, and to contact that subscriber or

    terminate that subscriber’s service.

               25.   Those infringement notices notified Charter of clear and unambiguous

    infringing activity by Charter subscribers—that is, unauthorized downloading and distribution of

    copyrighted music.

               26.   The infringement notices sent to Charter also pointed to specific subscribers

    who were flagrant and serial infringers. The infringement notices identified thousands of Charter

    subscribers engaged in blatant and repeated infringement of Plaintiffs’ copyrighted works.

    Rather than terminating repeat infringers—and losing subscription revenues—Charter simply

    looked the other way.

               27.   During the Counterclaims Period, Charter had the full legal right, obligation,

    and technical ability to prevent or limit the infringements occurring on its network. Under

    Charter’s “Terms of Service/Policies,” Charter was empowered to exercise its right and ability to



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    suspend or terminate a customer’s internet access for, among other reasons, a subscriber’s

    copyright infringement activity. Charter’s copyright policy expressly provides that “[i]f Charter

    receives more than one Notice of Copyright Infringement on the customer’s part, the customer

    may be deemed a ‘repeat copyright infringer . . . [and Charter] reserves the right to terminate the

    accounts of ‘repeat copyright infringers.’” (emphasis added).

               28.   Despite these alleged policies, and despite receiving more than 47,000

    infringement notices from the Universal Plaintiffs during the Counterclaims Period, as well as

    thousands of similar notices from other copyright owners, Charter knowingly permitted

    specifically identified repeat infringers to continue using its network to infringe. Rather than

    disconnect the internet access of blatant repeat infringers to curtail their infringement, Charter

    knowingly continued to provide these subscribers with the internet access that enabled them to

    continue to illegally download or distribute Plaintiffs’ copyrighted works unabated. Charter’s

    provision of high-speed internet service to known infringers materially contributed to these direct

    infringements.

               29.   Charter failed to take real action against repeat infringers despite the fact that

    Plaintiffs formally notified Charter of its liability for such conduct as far back as March 2016. In

    March and April 2016, Plaintiffs sent Charter formal notice of their claims in the underlying

    action. Plaintiffs explained that Charter was liable for copyright infringement based on its

    failure to respond adequately to hundreds of thousands of infringement notices and its failure to

    stop repeat infringement occurring on its networks. Plaintiffs informed Charter that “[n]ot only

    must Charter act within the law going forward, but Charter must remedy the infringement to

    date.” Unfortunately, Charter failed to heed this warning. Instead, even after receiving formal




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    notice of Plaintiffs’ claims, Charter continued to look the other way—ignoring at least 47,000

    additional notices of infringement.

                30.      Charter’s motivation for refusing to terminate or suspend the accounts of blatant

    infringing subscribers was simple: it valued corporate profits over its legal responsibilities.

    Retaining infringing subscribers provided a direct financial benefit to Charter, as it allowed

    Charter to continue to collect revenue from accounts that should have been terminated. Further,

    by not taking action against its infringing subscribers, Charter avoided the risk that account

    terminations would make its service less attractive to other existing or prospective users.

    Moreover, Charter did not devote sufficient resources to tracking repeat infringers, responding to

    infringement notices, and terminating accounts in appropriate circumstances. Instead, Charter

    deleted internal records evidencing the infringement notices it received, making it impossible to

    even determine whether or the extent to which its subscribers had repeatedly infringed.

                31.      Charter’s facilitation of and profit from infringement of Plaintiffs’ works

    through Charter’s network undercuts the legitimate music market, depriving Plaintiffs and those

    recording artists and songwriters whose works they sell and license of the compensation to which

    they are entitled.

                                            CLAIMS FOR RELIEF

                               Count I – Contributory Copyright Infringement

                32.      Plaintiffs repeat and re-allege each and every allegation contained in paragraphs

    1 through 31 as if fully set forth herein.

                33.      Charter and its subscribers do not have any authorization, permission, license,

    or consent to exploit the copyrighted sound recordings or musical compositions at issue.




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               34.   Charter’s subscribers, using internet access and services provided by Charter,

    have unlawfully reproduced and distributed via BitTorrent, or other P2P networks, thousands of

    sound recordings and musical compositions for which Plaintiffs are the legal or beneficial

    copyright owners or exclusive licensees. The copyrighted works infringed by Charter’s

    subscribers, which have been registered with the U.S. Copyright Office, include those listed on

    Exhibits I and II, and many others. The foregoing activity constitutes direct infringement in

    violation of 17 U.S.C. §§ 106 and 501, et seq.

               35.   Charter is liable as a contributory copyright infringer for the direct

    infringements described above. Through Plaintiffs’ infringement notices and other means,

    Charter had knowledge that its network was being used for infringement of Plaintiffs’

    copyrighted works on a massive scale, and also knew of specific subscribers engaged in such

    repeated and flagrant infringement. Nevertheless, Charter facilitated, encouraged, and materially

    contributed to such infringement by continuing to provide its network and the facilities necessary

    for its subscribers to commit repeated infringements. Charter had the means to withhold that

    assistance upon learning of specific infringing activity by specific users but failed to do so.

               36.   By purposefully ignoring and turning a blind eye to its subscribers’ flagrant and

    repeated infringements, Charter knowingly caused and materially contributed to the unlawful

    reproduction and distribution of Plaintiffs’ copyrighted works, including but not limited to those

    listed on Exhibits I and II hereto, in violation of Plaintiffs’ exclusive rights under the copyright

    laws of the United States.

               37.   Each infringement of Plaintiffs’ copyrighted sound recordings and musical

    compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

    infringement against Charter are timely pursuant to tolling agreements.




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                38.   The foregoing acts of infringement by Charter have been willful, intentional,

    and purposeful, in blatant disregard of Plaintiffs’ rights. Indeed, the sound recordings on Exhibit

    I and the musical compositions on Exhibit II represent works infringed by Charter’s subscribers

    after those particular subscribers were identified to Charter in multiple infringement notices.

                39.   As a direct and proximate result of Charter’s willful infringement of Plaintiffs’

    copyrights, Plaintiffs are entitled to statutory damages pursuant to 17 U.S.C. § 504(c), in an

    amount of up to $150,000 with respect to each work infringed, or such other amount as may be

    proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, they shall be entitled to

    their actual damages pursuant to 17 U.S.C. § 504(b), including Charter’s profits from the

    infringements, as will be proven at trial.

                40.   Plaintiffs also are entitled to their attorneys’ fees and full costs pursuant to 17

    U.S.C. § 505.

                              Count II – Vicarious Copyright Infringement

                41.   Plaintiffs repeat and re-allege each and every allegation contained in paragraphs

    1 through 40 as if fully set forth herein.

                42.   Charter and its subscribers have no authorization, license, or other consent to

    exploit the copyrighted sound recordings or musical compositions at issue.

                43.   Charter’s subscribers, using internet access and services provided by Charter,

    have unlawfully reproduced and distributed via BitTorrent or other P2P services thousands of

    sound recordings and musical compositions of which Plaintiffs are the legal or beneficial

    copyright owners or exclusive licensees. The copyrighted works infringed by Charter’s

    subscribers, which have been registered with the U.S. Copyright Office, include those listed on




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    Exhibits I and II, and many others. The foregoing activity constitutes direct infringement in

    violation of 17 U.S.C. §§ 106 and 501, et seq.

               44.   Charter is liable as a vicarious copyright infringer for the direct infringements

    described above. Charter has the legal and practical right and ability to supervise and control the

    infringing activities that occur through the use of its network, and at all relevant times has had a

    financial interest in, and derived direct financial benefit from, the infringing use of its network.

    Charter has derived an obvious and direct financial benefit from its customers’ infringement.

    The ability to use Charter’s high-speed internet facilities to illegally download Plaintiffs’

    copyrighted works has served to draw, maintain, and generate higher fees from paying

    subscribers to Charter’s service. Among other financial benefits, by failing to terminate the

    accounts of specific repeat infringers known to Charter, Charter has profited from illicit revenue

    through user subscription fees that it would not have otherwise received from repeat infringers,

    as well as new subscribers drawn to Charter’s services for the purpose of illegally downloading

    copyrighted works. The specific infringing subscribers identified in Plaintiffs’ notices, including

    the egregious infringers identified therein, knew Charter would not terminate their accounts

    despite receiving multiple notices identifying them as infringers, and they remained Charter

    subscribers to continue illegally downloading copyrighted works.

               45.   Charter is vicariously liable for the unlawful reproduction and distribution of

    Plaintiffs’ copyrighted works, including but not limited to those listed on Exhibits I and II hereto,

    in violation of Plaintiffs’ exclusive rights under the copyright laws of the United States.

               46.   Each infringement of Plaintiffs’ copyrighted sound recordings and musical

    compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

    infringement against Charter are timely pursuant to tolling agreements.




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               47.   The foregoing acts of infringement by Charter have been willful, intentional,

    and purposeful, in blatant disregard of Plaintiffs’ rights. Indeed, the sound recordings on Exhibit

    I and the musical compositions on Exhibit II are works infringed by Charter’s subscribers after

    those particular subscribers were identified to Charter in multiple prior infringement notices.

               48.   As a direct and proximate result of Charter’s willful infringement of Plaintiffs’

    copyrights, Plaintiffs are entitled to statutory damages, pursuant to 17 U.S.C. § 504(c), in an

    amount of up to $150,000 with respect to each work infringed, or such other amount as may be

    proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, pursuant to 17 U.S.C. §

    504(b), they shall be entitled to their actual damages, including Charter’s profits from the

    infringements, as will be proven at trial.

               49.   Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant to 17

    U.S.C. § 505.

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs pray for judgment from this Court against Charter as follows:

               a.    For a declaration that Charter willfully infringed Plaintiffs’ copyrights;

               b.    For statutory damages pursuant to 17 U.S.C. § 504(c), in an amount up to the

                     maximum provided by law, arising from Charter’s willful violations of

                     Plaintiffs’ rights under the Copyright Act; or, in the alternative, at Plaintiffs’

                     election, their actual damages pursuant to 17 U.S.C. § 504(b), including

                     Charter’s profits from infringement, in an amount to be proven at trial;

               c.    For an award of Plaintiffs’ costs in this action, including reasonable attorneys’

                     fees, pursuant to 17 U.S.C. § 505;




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                d.    For pre-judgment and post-judgment interest at the applicable rate on any

                      monetary award made part of the judgment against Charter; and

                e.    For such other and further relief as the Court deems proper.

                                         JURY TRIAL DEMAND

            Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs hereby demand a trial by jury

    of all issues that are so triable.



    Dated June 15, 2020                                     Respectfully submitted,

                                                            /s/ Matthew J. Oppenheim
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                                   CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that on this 15th day of June 2020, a true and correct copy of the
    foregoing was filed with the Clerk of Court via the CM/ECF system, which will send notification
    of such filing to all counsel of record.




                                                              ____/s/ Matthew J. Oppenheim




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